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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )      Case No. 3:12-CR-087 JD
                                              )
GERARDO GARCIA (02)                           )

                                             ORDER

       No objections have been filed to the magistrate judge’s findings and recommendation upon

a plea of guilty issued on August 29, 2012 [DE 34]. Accordingly, the court now ADOPTS those

findings and recommendations, ACCEPTS defendant Gerardo Garcia’s plea of guilty, and FINDS

the defendant guilty of Counts 4, 5, and 7 of the Information, in violation of 21 U.S.C. § 841(a)(1)

and Count 6 of the Information, in violation of 18 U.S.C. § 924(c).

       SO ORDERED.

       ENTERED: October 2, 2012



                                                     /s/ JON E. DEGUILIO
                                              Judge
                                              United States District Court
